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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

FELTON MITCHELL,                          )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )           CV420-028
                                    )
MARRIOTT MONARCH,                   )
                                    )
      Defendant.                    )

                                  ORDER

      The Court entered an Order and Report and Recommendation on the

pending motions in this case. Doc. 9. In that Order, the Court granted

defendant’s motion to stay, doc. 7, but neglected to clarify that the case, and

not merely discovery deadlines, were stayed. Compare doc. 7 at 5 (requesting

the Court “stay all deadlines and discovery in [this] matter, pending the

resolution of [defendant’s] Motion to Dismiss.” (emphasis added)), with doc.

9 at 8 (granting “the motion to stay discovery” (emphasis added). For clarity,

the Court enters this supplemental Order.

      The Clerk is DIRECTED to STAY this case and all deadlines pending

the District Judge’s disposition of the Motion to Dismiss, doc. 4. If the

District Judge adopts the recommendation that the motion be granted, then
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the case will close and the stay will be moot. If the District Judge declines to

adopt the recommendation, the Clerk is DIRECTED to lift the stay.

      SO ORDERED, this 25th day of September, 2020.



                                    _______________________________
                                      ____________________________
                                    CHR
                                      RISTOPH
                                           PH E L. RAY
                                     HRISTOPHER
                                            HER
                                    UNITED STATES MAGISTRATE JUD
                                                              UDGE
                                    SOUTHERN DISTRICT OF GEORGIA




                                       2
